
In re Hodges, Lily, Dr.; Neuropsychiatric Clinic Ltd.; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Lafayette, Fifteenth Judicial District Court, Div. “E”, No. 92-3699E; to the Court of Appeal, Third Circuit, No. CW93-0266.
Granted. Judgment of the trial court denying the exception of prematurity is reversed. The allegations of plaintiffs petition fall within the scope of the medical malpractice act. Accordingly, the exception of prematurity is sustained, and the case remanded to the trial court with instructions to dismiss plaintiffs suit as premature. La.R.S. 40:1299.47(B); Code Civ.P. art. 933.
DENNIS, J., would deny and dissents from the Court’s summary action and opinion.
WATSON, J., not on panel.
